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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

                 -v-                                                             20 CR 675 (CM)

Richard Lotito,                                                                        ORDER

                          Defendants.

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Colleen McMahon, Chief Judge:

         The Court will hold a conference in this matter on January 19, 2021, at 2:30 p.m., using

the Skype video call platform- the Skype link and logon instructions have been emailed to the

parties. The public and press may access the audio feed of the conference by call ing 888-363-

4749, and entering access code 9054506.
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Dated: January 12, 202 1
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         ew York, New York                                           Colleen McMahon
                                                                       Chief Judge




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